               Case 2:14-cr-00043-KJM Document 87 Filed 08/05/14 Page 1 of 3

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 SHERRY D. HARTEL HAUS
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00043-KJM
11                                Plaintiff,             STIPULATION AND PROTECTIVE ORDER RE:
                                                         DISSEMINATION OF DISCOVERY
12                          v.                           DOCUMENTS CONTAINING PERSONAL
                                                         IDENTIFYING INFORMATION
13   JOSEPH ROBERT SHARPE,
14                                Defendants.
15

16

17          IT IS HERBEY STIUPLATED AND AGREED by the parties that the documents provided as
18 discovery in this case to defense counsel is subject to a Protective Order. Defendant is charged with

19 conspiracy related to a tax refund fraud scheme.

20          The parties agree that discovery in this case contains “Protected Information,” including but not
21 limited to, victim and witness tax information and records, social security numbers, and dates of birth.

22 The Protective Order extends to all documents provided, including those concerning conduct not directly

23 charged in the Indictment.

24          By signing this Stipulation, defense counsel agrees that the Protected Information is entrusted to
25 counsel only for the purposes of representing his client, the defendant, in this criminal case and for no

26 other purpose. Further, defense counsel agrees not to share any documents that contain Protected
27 Information with anyone other than his designated defense investigators, experts, and support staff.

28 Defense counsel will have a duty to inform his defense investigators, experts, and support staff of this

      STIPULATION AND [PROPOSED} PROTECTIVE ORDER RE:
      DISSEMINATION OF DISCOVERY DOCUMENTS               1
30    CONTAINING PERSONAL IDENTIFYING INFORMATION
               Case 2:14-cr-00043-KJM Document 87 Filed 08/05/14 Page 2 of 3

 1 Order and provide them with a copy of it. Defense counsel may permit the defendant to review the

 2 Protected Information and be aware of the its contents, but defendant shall not be given control of the

 3 Protected Information or provided any copies of the Protected Information that have not been redacted

 4 of the Protected Information. Any person receiving Protected Information or a copy of the Protected

 5 Information from defendant’s counsel shall be bound by the same obligations as counsel and further

 6 may not give the Protected Information to anyone (except that the protected documents shall be returned

 7 to counsel).

 8          Counsel agrees to store Protected Information in a secure place and to use care to ensure that

 9 information is not disclosed to third parties in violation of this agreement. At the conclusion of the case,

10 defense counsel agrees to destroy all copies of Protected Information or to return the Protected

11 Information to the United States and certify that this has been accomplished.

12          Notwithstanding the foregoing, counsel, staff and/or the investigator for the defendant may make

13 copies of the Protected Information for trial preparation and presentation. Any copies must, however,

14 retain in the possession of counsel, investigator, staff, expert or the court.

15          Nothing in this Stipulation and Protective Order prevents defense counsel or the defendant from

16 maintaining unredacted copies of records concerning the defendant’s own Protected Information.

17          In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

18 withhold these documents form new counsel unless and until substituted counsel agrees also so be

19 bound by this order.

20 Dated: August 4, 2014                                        BENJAMIN B. WAGNER
                                                                United States Attorney
21

22                                                       By: /s/ Sherry D. Hartel Haus
                                                             SHERRY D. HARTEL HAUS
23                                                           Assistant United States Attorney
24

25 Dated: August 4, 2014                                 By: /s/ Benjamin D. Galloway
                                                             BENJAMIN D. GALLOWAY
26                                                           Attorney for Defendant Joseph Robert
                                                             Sharpe
27 /
   /
28 /

       STIPULATION AND [PROPOSED} PROTECTIVE ORDER RE:
       DISSEMINATION OF DISCOVERY DOCUMENTS                 2
30     CONTAINING PERSONAL IDENTIFYING INFORMATION
                 Case 2:14-cr-00043-KJM Document 87 Filed 08/05/14 Page 3 of 3

 1      IT IS SO ORDERED.

 2 Dated: August 5, 2014

 3

 4   Dad1.crim
     Sharpe.0043.stipo.proto.doc
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

       STIPULATION AND [PROPOSED} PROTECTIVE ORDER RE:
       DISSEMINATION OF DISCOVERY DOCUMENTS              3
30     CONTAINING PERSONAL IDENTIFYING INFORMATION
